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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                              May 11, 2022
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                       )
In re:                                 )                             Chapter 11
                                       )
SUNGARD AS NEW HOLDINGS, LLC, et al.,1 )                             Case No. 22-90018 (DRJ)
                                       )
                   Debtors.            )                             (Jointly Administered)
                                       )
                                       )                             Re: Docket No. 213

                  ORDER (I) SETTING BAR DATES FOR FILING
           PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
       UNDER SECTION 503(b)(9), (II) ESTABLISHING AMENDED SCHEDULES
        BAR DATE AND REJECTION DAMAGES BAR DATE, (III) APPROVING
     THE FORM OF AND MANNER FOR FILING PROOFS OF CLAIM, INCLUDING
    SECTION 503(b)(9) REQUESTS, AND (IV) APPROVING NOTICE OF BAR DATES

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Bar Date Order”) (a) establishing deadlines

for filing proofs of claim, including requests for payment under section 503(b)(9) of the

Bankruptcy Code, in these Chapter 11 Cases, (b) establishing the Amended Schedules Bar Date

and the Rejection Damages Bar Date, (c) approving the form and manner for filing such claims,

including any section 503(b)(9) requests for payment, and (d) approving notice of the Bar Dates,

all as more fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant

to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding within the meaning


1
    The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ tax identification numbers,
    are: InFlow LLC (9489); Sungard AS New Holdings, LLC (5907); Sungard AS New Holdings II, LLC (9169);
    Sungard AS New Holdings III, LLC (3503); Sungard Availability Network Solutions Inc. (1034); Sungard
    Availability Services (Canada) Ltd./Sungard, Services de Continuite des Affaires (Canada) Ltee (3886); Sungard
    Availability Services Holdings (Canada), Inc. (2679); Sungard Availability Services Holdings (Europe), Inc.
    (2190); Sungard Availability Services Holdings, LLC (6403); Sungard Availability Services Technology, LLC
    (9118); Sungard Availability Services, LP (6195); and Sungard Availability Services, Ltd. (4711). The location
    of the Debtors’ service address for purposes of these chapter 11 cases is: 565 E Swedesford Road, Suite 320,
    Wayne, PA 19087.

2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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of 28 U.S.C. § 157(b); and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the

Motion and opportunity for a hearing on the Motion were appropriate and no other notice need be

provided; and this Court having reviewed the Motion; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, IT IS HEREBY ORDERED THAT:

I.       Bar Dates and Procedures for Filing Proofs of Claim

         1.       Each entity3 that asserts a claim (whether secured, unsecured, priority, or non-

priority) against the Debtors that arose or is deemed to have arisen before the Petition Date,

including claims arising under section 503(b)(9) of the Bankruptcy Code, must file an original,

written proof of claim (a “Proof of Claim”), substantially in the form attached hereto as Exhibit 1

(the “Proof of Claim Form”) or Official Form 410, so that it is actually received by the Debtors’

claims and noticing agent, Kroll Corporate Restructuring, LLC (“Kroll”), in accordance with the

instructions set forth in this Bar Date Order, on or before Wednesday, June 22, 2022 (the “General

Bar Date”). The General Bar Date applies to all types of claims against the Debtors that arose or

are deemed to have arisen before the Petition Date, except for claims specifically exempt from




3
     Except as otherwise defined herein and in the Motion, all terms used but not defined herein that are specifically
     defined in the Bankruptcy Code, including “entity,” “claim,” and “governmental unit,” shall have the meanings
     ascribed to such terms in section 101 of the Bankruptcy Code.



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complying with the applicable Bar Dates (as defined herein) as set forth in the Motion or this Bar

Date Order.

       2.      Each governmental unit that asserts a claim (whether secured, unsecured, priority,

or non-priority) against the Debtors that arose or is deemed to have arisen before the Petition Date,

including claims arising under section 503(b)(9) of the Bankruptcy Code and claims for unpaid

taxes arising from prepetition tax years or periods or prepetition transactions, must file a Proof of

Claim so that it is actually received by Kroll, in accordance with the instructions set forth in this

Bar Date Order, on or before Monday, October 10, 2022 (the “Governmental Bar Date”).

       3.      Unless otherwise ordered, each entity asserting a claim arising from the Debtors’

rejection of an executory contract or unexpired lease must file a Proof of Claim on account of such

claim so that it is actually received by Kroll, in accordance with the instructions set forth in this

Bar Date Order, by the later of (a) the General Bar Date or Governmental Bar Date, as applicable,

and (b) on the date that is thirty (30) days following entry of an order approving the Debtors’

rejection of such executory contract or unexpired lease (the “Rejection Damages Bar Date”).

       4.      If the Debtors amend their Schedules after having given notice of the Bar Dates (as

defined below), the Debtors shall give notice by first-class mail of any amendment to holders of

claims affected thereby, and, except for entities that are exempt from complying with the

applicable Bar Dates, as set forth in this Bar Date Order, such holders must file Proofs of Claim

on account of such affected claims so that they are actually received by Kroll, in accordance with

the instructions set forth in this Bar Date Order, by the later of (a) the General Bar Date or

Governmental Bar Date, as applicable, and (b) on the date that is thirty (30) days from the date the

notice of the Schedule amendment is mailed (the “Amended Schedules Bar Date” and together

with the General Bar Date, the Governmental Bar Date, and the Rejection Damages Bar Date, as

applicable, the “Bar Date” or “Bar Dates”).

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       5.      All Proofs of Claim must be filed so as to be actually received by Kroll on or

before the applicable Bar Date. If Proofs of Claim are not received by Kroll on or before the

applicable Bar Date, except in the case of certain exceptions explicitly set forth herein, the holders

of the underlying claims shall be barred from asserting such claims against the Debtors and

precluded from voting on any plans of reorganization filed in these Chapter 11 Cases and/or

receiving distribution from the Debtors on account of such claims in these Chapter 11 Cases.

II.    Parties Exempted from the Bar Date

       6.      The following categories of claimants, in the capacities described below, shall not

be required to file a Proof of Claim by the Bar Date:

               a.      the U.S. Trustee, on account of claims for fees payable pursuant to
                       28 U.S.C. § 1930;

               b.      any entity that has already filed a signed Proof of Claim against the
                       respective Debtor(s) with the Clerk of the Court or with Kroll in a form
                       substantially similar to Official Form 410;

               c.      any entity whose claim is listed on the Schedules and: (i) is not listed in the
                       Schedules as “disputed,” “contingent,” or “unliquidated;” (ii) such entity
                       agrees with the amount, nature, and priority of the claim as set forth in the
                       Schedules; and (iii) such entity does not dispute the claim is an obligation
                       of the specific Debtor whose Schedules list such claim;

               d.      any entity whose claim has previously been allowed by a final order of the
                       Court;

               e.      any Debtor holding a claim against another Debtor;

               f.      any entity whose claim is solely against any of the Debtors’ non-Debtor
                       affiliates;

               g.      any entity whose claim has been paid in full by the Debtors pursuant to the
                       Bankruptcy Code or in accordance with a Court order;

               h.      a current employee of the Debtors whose claim is for a wage, commission,
                       or benefit that the Court has authorized, by entry of an order, the Debtors to
                       pay in the ordinary course of business; provided, that a current employee
                       must submit a Proof of Claim by the applicable Bar Date for all other claims
                       arising prior to the Petition Date, including claims for wrongful termination,
                       discrimination, harassment, hostile work environment, or retaliation;


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              i.     any current officer, manager, director, or employee for claims based on
                     indemnification, contribution, or reimbursement;

              j.     any entity holding a claim for which a separate deadline is fixed by this
                     Court;

              k.     any entity holding a claim allowable under sections 503(b) and 507(a)(2) of
                     the Bankruptcy Code as an administrative expense; provided that any entity
                     asserting a claim entitled to priority under section 503(b)(9) of the
                     Bankruptcy Code must file a Proof of Claim based on such claim by the
                     General Bar Date;

              l.     any party that is exempt from filing a Proof of Claim pursuant to an order
                     of the Court in these Chapter 11 Cases, including, without limitation,
                     pursuant to an order granting the Debtors’ motion to approve debtor-in-
                     possession financing and use of cash collateral; and

              m.     any entity holding an equity interest in any Debtor.

III.   Substantive Requirements of Proofs of Claim

       7.     The following requirements shall apply with respect to filing and preparing each

Proof of Claim:

              a.     Contents. Each Proof of Claim must: (i) be written in English; (ii) include
                     a claim amount denominated in United States dollars; (iii) conform
                     substantially with the Proof of Claim Form provided by the Debtors or
                     Official Form 410; and (iv) be signed by the claimant or by an authorized
                     agent or legal representative on behalf of the claimant.

              b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                     priority under section 503(b)(9) must also: (i) include the value of the goods
                     received by the Debtors in the twenty (20) days prior to the Petition Date;
                     (ii) attach any documentation identifying the particular invoices for which
                     the 503(b)(9) claim is being asserted; and (iii) attach documentation of any
                     reclamation demand made to the Debtors under section 546(c) of the
                     Bankruptcy Code (if applicable).

              c.     Electronic Signatures Permitted. Only original Proofs of Claim signed
                     (including electronically) by the claimant or an authorized agent or legal
                     representative of the claimant are acceptable for purposes of claims
                     administration. Copies of Proofs of Claim, or Proofs of Claim sent by
                     facsimile or electronic mail will not be accepted. Unless otherwise ordered
                     and/or authorized by this Court, an original Proof of Claim filed with the
                     original signature (including electronic) of a party other than the creditor
                     who filed that claim must be retained and preserved by the filing party for
                     a period of not less than 5 years after these Chapter 11 Cases are closed.


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           The filing party must produce the original document to the Court or other
           third party upon request for their review as required by the Administrative
           Procedures for the Filing, Signing, and Verifying of Documents by
           Electronic Means in Texas Bankruptcy Courts.

      d.   Identification of the Debtor Entity. Each Proof of Claim must clearly
           identify the Debtor against which a claim is asserted, including the
           individual Debtor’s case number. A Proof of Claim filed without
           identifying a specific Debtor will be deemed as filed only against Sungard
           AS LP.

      e.   Claim Against Multiple Debtor Entities. Each Proof of Claim must state
           a claim against only one clearly identified Debtor. If a Proof of Claim lists
           more than one Debtor it may be treated as filed only against Sungard
           AS LP. Notwithstanding anything to the contrary set forth in the Bar Date
           Order, the filing of a Proof of Claim by an administrative agent or indenture
           trustee in one of the Chapter 11 Cases will also be deemed to constitute the
           filing of a Proof of Claim in the cases of all other Debtors against whom a
           claim may be asserted under the applicable credit agreement, indenture, or
           other operative documents.

      f.   Supporting Documentation. Each Proof of Claim must include supporting
           documentation in accordance with Bankruptcy Rules 3001(c) and (d). If,
           however, such documentation is voluminous, such Proof of Claim may
           include a summary of such documentation or an explanation as to why such
           documentation is not available; provided, that (i) the Proof of Claim contain
           current contact information for the creditor or its designated representative
           from whom the Debtors may request the full supporting documentation and
           (ii) such party must produce those documents upon request by Debtors’
           counsel no later than ten (10) days from the date of such request.

      g.   Timely Service. Each Proof of Claim must be filed, including supporting
           documentation, so as to be actually received by Kroll on or before the
           applicable Bar Date: (i) electronically via the interface through PACER
           (Public Access to Court Electronic Records at http://ecf.txsb.uscourts.gov)
           or      the     interface    available     on    Kroll’s       website    at
           https://cases.ra.kroll.com/SungardAS/ or (ii) by first class U.S. mail,
           overnight U.S. mail, or other hand delivery method at the following address:

                  Sungard AS New Holdings, LLC Claims Processing Center
                         c/o Kroll Restructuring Administration LLC
                                  850 3rd Avenue, Suite 412
                                    Brooklyn, NY 11232

      h.   Receipt of Service. Claimants wishing to receive proof of receipt of their
           Proofs of Claim submitted by U.S. mail must enclose (i) a copy of the Proof
           of Claim Form (in addition to the original Proof of Claim Form sent to
           Kroll) and (ii) a self-addressed, stamped envelope to Kroll.

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IV.    Identification of Known Creditors

       8.      The Debtors shall mail notice of the Bar Dates only to their known creditors, and

such mailing shall be made to the last known mailing address for each such creditor, as reflected

in the Debtors’ books and records at such time.

V.     Procedures for Providing Notice of the Bar Date

       A.      Mailing of Bar Date Notices

       9.      No later than two (2) business days or as soon as reasonably practicable after entry

of this Bar Date Order, the Debtors shall cause a written notice of the Bar Dates, substantially in

the form attached hereto as Exhibit 2 (the “Bar Date Notice”) and a Proof of Claim Form (together,

the “Bar Date Package”) to be mailed via first class mail to the following entities (or their

respective counsel, if known):

               a.     the U.S. Trustee for the Southern District of Texas;

               b.     the entities listed as holding the 30 largest unsecured claims against the
                      Debtors (on a consolidated basis);

               c.     all creditors and other known holders of claims against the Debtors as of the
                      date of entry of the Bar Date Order, including all entities listed in the
                      Schedules as holding claims against the Debtors;

               d.     all entities that have requested notice pursuant to Bankruptcy Rule 2002 as
                      of the date of the Bar Date Order;

               e.     all entities that have filed Proofs of Claim in these Chapter 11 Cases as of
                      the date of the Bar Date Order;

               f.     all known non-Debtor equity and interest holders of the Debtors as of the
                      date the Bar Date Order is entered;

               g.     all entities who are a party to executory contracts and unexpired leases with
                      the Debtors;

               h.     all entities who are a party to active litigation with the Debtors;

               i.     all current and former employees (to the extent that contact information for
                      former employees is available in the Debtors’ records);



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               j.      all regulatory authorities that regulate the Debtors’ business, including
                       environmental and permitting authorities;

               k.      the Offices of the Attorney General for each of the states in which the
                       Debtors maintain or conduct business;

               l.      the District Director of the Internal Revenue Service for the Southern
                       District of Texas;

               m.      all other taxing authorities for the jurisdictions in which the Debtors
                       maintain or conduct business;

               n.      all other entities listed on the Debtors’ matrix of creditors;

               o.      the United States Securities and Exchange Commission;

               p.      the Office of the United States Attorney for the Southern District of Texas;
                       and

               q.      all entities that have filed a notice of appearance in the Canadian
                       Proceedings or are on the service list posted on the Information Officer’s
                       website, in each case as of the date the Bar Date Order is entered.

       10.     Any creditor may choose to submit a Proof of Claim on a different form as long as

it is substantially similar to Official Form 410.

       11.     The Debtors or the Information Officer, as applicable, shall post this Order, the

General Bar Date, the Bar Date Notice, and the Proof of Claim Form on (i) the Debtors’ case

website established by Kroll at https://cases.ra.kroll.com/SungardAS/ and (ii) the Information

Officer’s    website     established    in    respect    of    the    Canadian      Proceedings   at

https://www.alvarezandmarsal.com/SungardASCanada.             The Debtors will also post on the

Company’s website the General Bar Date and this Order (or a link to this Order on Kroll’s website).

       12.     After the initial mailing of the Bar Date Packages, the Debtors may, in their

discretion, make supplemental mailings of notices or packages, including in the event that:

(a) notices are returned by the post office with forwarding addresses, provided, that the Debtors

shall not be required to mail additional notices to entities whose notices are returned by the post

office as “return to sender” without a forwarding address; (b) certain parties acting on behalf of


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parties in interest decline to pass along notices to these parties and instead return their names and

addresses to the Debtors for direct mailing, and (c) additional potential claimants become known

as the result of the Bar Date mailing process. In this regard, the Debtors may make supplemental

mailings of the Bar Date Package in these and similar circumstances at any time up to fourteen

(14) days in advance of the applicable Bar Date, with any such mailings being deemed timely and

the Bar Date being applicable to the recipient creditors.

       B.      Publication of Bar Date Notice

       13.     The Debtors shall cause notice of the General Bar Date to be given by publication

to creditors to whom notice by mail is impracticable, including creditors who are unknown or not

reasonably ascertainable by the Debtors and creditors whose identities are known but whose

addresses are unknown by the Debtors. Specifically, the Debtors shall cause the Bar Date Notice

to be published as soon as reasonably practicable after entry of the Bar Date Order, modified for

publication in substantially the form attached hereto as Exhibit 3 (the “Publication Notice”), on

one occasion in the national edition of The New York Times (or similar national newspaper) and

any such other local publications, including a national newspaper in Canada, that the Debtors deem

appropriate and disclose in their affidavit of service.

       14.     Notice of the Bar Dates as set forth in this Bar Date Order and in the manner set

forth herein (including, but not limited to, the Bar Date Notice, the Publication Notice, and any

supplemental notices that the Debtors may send from time to time) constitutes adequate and

sufficient notice of each of the Bar Dates and satisfies the requirements of the Bankruptcy Code,

the Bankruptcy Rules, and the Bankruptcy Local Rules.

VI.    Consequences of Failure to File a Proof of Claim

       15.     Any entity that is required, but fails, to file a Proof of Claim in accordance with this

Bar Date Order on or before the applicable Bar Date shall be (a) forever barred, estopped, and


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enjoined from asserting such claim against the Debtors (or filing a Proof of Claim with respect

thereto) and the Debtors and their property shall be forever discharged from any and all

indebtedness or liability with respect to or arising from such claim and (b) prohibited from voting

to accept or reject any chapter 11 plan filed in these Chapter 11 Cases, participating in any

distribution in these Chapter 11 Cases on account of such claim, or receiving further notices

regarding such claim. Without limiting the foregoing sentence, any creditor asserting a claim

entitled to priority pursuant to section 503(b)(9) of the Bankruptcy Code that fails to file a Proof

of Claim in accordance with this Bar Date Order shall not be entitled to any priority treatment on

account of such claim pursuant to section 503(b)(9) of the Bankruptcy Code, regardless of whether

such claim is identified on the Schedules as not contingent, not disputed, and liquidated.

VII.   Miscellaneous

       16.     The Debtors are authorized to take all actions necessary or appropriate to effectuate

the relief granted pursuant to this Bar Date Order in accordance with the Motion.

       17.     The terms and conditions of this Bar Date Order shall be immediately effective and

enforceable upon entry of this Bar Date Order.

       18.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

       19.     All time periods set forth in this Bar Date Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).




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       19.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Bar Date Order.

 Houston, Texas
     Signed: May 11, 2022.
 Dated: _________, 2022
                                                  ____________________________________
                                                  DAVID R. JONES
                                                  DAVID R. JONES
                                                  UNITED STATES BANKRUPTCY JUDGE
                                                  UNITED STATES BANKRUPTCY JUDGE




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                            EXHIBIT 1

                        Proof of Claim Form
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 UNITED STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF TEXAS
           Fill in this information to identify the case (Select only one Debtor per claim form):
        Sungard Availability Services, LP                                   Sungard Availability Network Solutions Inc.
        (Case
             No. 22-90017)                                                   (Case No. 22-90023)

       Sungard AS New Holdings, LLC                                         Sungard AS New Holdings II, LLC
        (Case No. 22-90018)                                                   (Case No. 22-90024)

          Sungard Availability Services (Canada) Ltd.                       Sungard Availability Services Holdings
           (Case No. 22-90019)                                                (Europe), Inc. (Case No. 22-90025)

          Sungard Availability Services Holdings                            Sungard Availability Services Holdings, LLC
           (Canada), Inc. (Case No. 22-90020)                                 (Case No. 22-90026)

          InFlow LLC                                                        Sungard Availability Services Technology,
           (Case No. 22-90021)                                                LLC (Case No. 22-90027)

          Sungard AS New Holdings III, LLC                                  Sungard Availability Services, Ltd.
           (Case No. 22-90022)                                                (Case No. 22-90028)


 Modified Form 410
 Proof of Claim                                                                                                                                                  04/22
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to make a
 request for payment of an administrative expense, other than a claim entitled to administrative priority pursuant to 11 U.S.C. § 503(b)(9). Make
 such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents
 that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and
 security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

 Part 1:     Identify the Claim

1. Who is the current
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor

2. Has this claim been               No
   acquired from
   someone else?                     Yes. From whom?


3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?
   Federal Rule of             Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)
                               Number           Street                                                     Number          Street


                               City                               State                   ZIP Code         City                          State                   ZIP Code

                               Contact phone                                                               Contact phone

                               Contact email                                                               Contact email


4. Does this claim amend             No
   one already filed?                Yes. Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                 MM   / DD   / YYYY


5. Do you know if anyone             No
   else has filed a proof            Yes. Who made the earlier filing?
   of claim for this claim?




Modified Form 410
                                                                          Proof of Claim                                                                page 1
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 Part 2:      Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
    you use to identify the       Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:   _____ _____ _____ _____
    debtor?


7. How much is the claim?          $                                      . Does this amount include interest or other charges?
                                                                              No
                                                                              Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                    charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?                       Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim    No
     secured?                     Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:

                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)

                                           Value of property:                          $

                                           Amount of the claim that is secured:        $

                                           Amount of the claim that is unsecured: $                             (The sum of the secured and unsecured
                                                                                                                amounts should match the amount in line 7.)

                                           Amount necessary to cure any default as of the date of the petition:           $

                                           Annual Interest Rate (when case was filed)             %
                                              Fixed
                                              Variable


10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.              $

11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property:




 Modified Form 410
                                                                    Proof of Claim                                                          page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                                Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                            $
   nonpriority. For example,
   in some categories, the                   Up to $3,350 of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                        $
   entitled to priority.
                                             Wages, salaries, or commissions (up to $15,150) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                 $
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                             $

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                 $

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(          ) that applies.                         $

13. Is all or part of the          No
    claim entitled to
    administrative priority        Yes. Indicate the amount of your claim arising from the value of any goods received                         $ ____________________
    pursuant to                           by the debtor within 20 days before the date of commencement of the above
    11 U.S.C. § 503(b)(9)?                case(s), in which the goods have been sold to the debtor in the ordinary course of
                                          such debtor’s business. Attach documentation supporting such claim.


 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must            I am the creditor.
 sign and date it.
 FRBP 9011(b).
                                     I am the creditor’s attorney or authorized agent.
                                     I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 If you file this claim              I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 electronically, FRBP
 5005(a)(2) authorizes courts     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 to establish local rules         amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 specifying what a signature
 is.                              I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
                                  and correct.
 A person who files a
 fraudulent claim could be        I declare under penalty of perjury that the foregoing is true and correct.
 fined up to $500,000,            Executed on date                   _______ (mm/dd/yyyy)
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3571.

                                          Signature
                                  Print the name of the person who is completing and signing this claim:

                                  Name
                                                        First name                           Middle name                            Last name

                                  Title

                                  Company
                                                        Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                        Number            Street


                                                        City                                                         State          ZIP Code

                                  Contact phone                                                                      Email




 Modified Form 410
                                                                           Proof of Claim                                                                 page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                            12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                           A Proof of Claim form and any attached documents
                                                                       must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the             number, individual’s tax identification number, or
   date the case was filed.                                            financial account number, and only the year of any
                                                                       person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                    For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,
                                                                       full name and address of the child’s parent or
   then state the identity of the last party who owned the             guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred            Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                       Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the      Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
   definition of redaction on the next page.)                       To receive confirmation that the claim has been filed, enclose a
                                                                    stamped self-addressed envelope and a copy of this form. You
   Also attach redacted copies of any documents that show           may view a list of filed claims in this case by visiting the
   perfection of any security interest or any assignments or        Claims and Noticing Agent's website at
   transfers of the debt. In addition to the documents, a           https://cases.ra.kroll.com/SungardAS.
   summary may be added. Federal Rule of Bankruptcy
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                   Understand the terms used in this form
 Do not attach original documents because                         Administrative expense: Generally, an expense that arises
   attachments may be destroyed after scanning.                    after a bankruptcy case is filed in connection with operating,
                                                                   liquidating, or distributing the bankruptcy estate.
 If the claim is based on delivering health care goods            11 U.S.C. § 503.
   or services, do not disclose confidential health care
   information. Leave out or redact confidential
                                                                   Claim: A creditor’s right to receive payment for a debt that the
   information both in the claim and in the attached
                                                                   debtor owed on the date the debtor filed for bankruptcy. 11
   documents.
                                                                   U.S.C. §101 (5). A claim may be secured or unsecured.
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Creditor: A person, corporation, or other entity to whom a           Setoff: Occurs when a creditor pays itself with money
debtor owes a debt that was incurred on or before the date the       belonging to the debtor that it is holding, or by canceling a debt
debtor filed for bankruptcy. 11 U.S.C. § 101 (10).                   it owes to the debtor.

Debtor: A person, corporation, or other entity who is in             Unsecured claim: A claim that does not meet the requirements
bankruptcy. Use the debtor’s name and case number as shown           of a secured claim. A claim may be unsecured in part to the
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).         extent that the amount of the claim is more than the value of the
                                                                     property on which a creditor has a lien.
Evidence of perfection: Evidence of perfection of a security
interest may include documents showing that a security interest      Offers to purchase a claim
has been filed or recorded, such as a mortgage, lien, certificate
                                                                     Certain entities purchase claims for an amount that is less than
of title, or financing statement.
                                                                     the face value of the claims. These entities may contact
Information that is entitled to privacy: A Proof of Claim form       creditors offering to purchase their claims. Some written
and any attached documents must show only the last 4 digits of       communications from these entities may easily be confused
any social security number, an individual’s tax identification       with official court documentation or communications from the
number, or a financial account number, only the initials of a        debtor. These entities do not represent the bankruptcy court, the
minor’s name, and only the year of any person’s date of birth. If    bankruptcy trustee, or the debtor. A creditor has no obligation
a claim is based on delivering health care goods or services,        to sell its claim. However, if a creditor decides to sell its claim,
limit the disclosure of the goods or services to avoid               any transfer of that claim is subject to Bankruptcy Rule
embarrassment or disclosure of confidential health care              3001(e), any provisions of the Bankruptcy Code (11 U.S.C. §
information. You may later be required to give more                  101 et seq.) that apply, and any orders of the bankruptcy court
information if the trustee or someone else in interest objects to    that apply.
the claim.
                                                                     Please send completed Proof(s) of Claim to:
Priority claim: A claim within a category of unsecured claims
that is entitled to priority under 11 U.S.C. § 507(a). These         Sungard AS New Holdings, LLC Claims Processing Center
claims are paid from the available money or property in a            c/o Kroll Restructuring Administration LLC
bankruptcy case before other unsecured claims are paid.              850 Third Avenue, Suite 412
Common priority unsecured claims include alimony, child              Brooklyn, NY 11232
support, taxes, and certain unpaid wages.
                                                                     You may also file your claim electronically at
Proof of claim: A form that shows the amount of debt the             https://cases.ra.kroll.com/SungardAS/EPOC-Index.
debtor owed to a creditor on the date of the bankruptcy filing.
The form must be filed in the district where the case is pending.
                                                                    Do not file these instructions with your form
Redaction of information: Masking, editing out, or deleting
certain information to protect privacy. Filers must redact or
leave out information entitled to privacy on the Proof of Claim
form and any attached documents.

Secured claim under 11 U.S.C. § 506(a): A claim backed by
a lien on particular property of the debtor. A claim is secured
to the extent that a creditor has the right to be paid from the
property before other creditors are paid. The amount of a
secured claim usually cannot be more than the value of the
particular property on which the creditor has a lien. Any
amount owed to a creditor that is more than the value of the
property normally may be an unsecured claim. But exceptions
exist; for example, see 11 U.S.C. § 1322(b) and the final
sentence of § 1325(a).
Examples of liens on property include a mortgage on real
estate or a security interest in a car. A lien may be voluntarily
granted by a debtor or may be obtained through a court
proceeding. In some states, a court judgment may be a lien.
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                            EXHIBIT 2

                      Form of Bar Date Notice
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                       )
In re:                                 )                             Chapter 11
                                       )
SUNGARD AS NEW HOLDINGS, LLC, et al.,1 )                             Case No. 22-90018 (DRJ)
                                       )
                   Debtors.            )                             (Jointly Administered)
                                       )
                                       )

                  NOTICE OF DEADLINES FOR THE FILING OF
             PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
            PURSUANT TO SECTION 503(b)(9) OF THE BANKRUPTCY CODE

    TO: ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST ANY OF
       THE FOLLOWING DEBTOR ENTITIES:

                           DEBTOR                                                                    CASE NO.
    SUNGARD AVAILABILITY SERVICES, LP                                                                 22-90017
    SUNGARD AS NEW HOLDINGS, LLC                                                                      22-90018
    SUNGARD AVAILABILITY SERVICES (CANADA) LTD./SUNGARD                                               22-90019
    SERVICES DE CONTINUITE DES AFFAIRES (CANADA) LTEE
    SUNGARD AVAILABILITY SERVICES HOLDINGS (CANADA),                                                  22-90020
    INC.
    INFLOW LLC                                                                                        22-90021
    SUNGARD AS NEW HOLDINGS III, LLC                                                                  22-90022
    SUNGARD AVAILABILITY NETWORK SOLUTIONS INC.                                                       22-90023
    SUNGARD AS NEW HOLDINGS II, LLC                                                                   22-90024
    SUNGARD AVAILABILITY SERVICES HOLDINGS (EUROPE), INC.                                             22-90025
    SUNGARD AVAILABILITY SERVICES HOLDINGS, LLC                                                       22-90026
    SUNGARD AVAILABILITY SERVICES TECHNOLOGY, LLC                                                     22-90027
    SUNGARD AVAILABILITY SERVICES, LTD.                                                               22-90028



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    The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ tax identification numbers,
    are: InFlow LLC (9489); Sungard AS New Holdings, LLC (5907); Sungard AS New Holdings II, LLC (9169);
    Sungard AS New Holdings III, LLC (3503); Sungard Availability Network Solutions Inc. (1034); Sungard
    Availability Services (Canada) Ltd./Sungard, Services de Continuite des Affaires (Canada) Ltee (3886); Sungard
    Availability Services Holdings (Canada), Inc. (2679); Sungard Availability Services Holdings (Europe), Inc.
    (2190); Sungard Availability Services Holdings, LLC (6403); Sungard Availability Services Technology, LLC
    (9118); Sungard Availability Services, LP (6195); and Sungard Availability Services, Ltd. (4711). The location
    of the Debtors’ service address for purposes of these chapter 11 cases is: 565 E Swedesford Road, Suite 320,
    Wayne, PA 19087.



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PLEASE TAKE NOTICE THAT:

          On April 11, 2022 (the “Petition Date”), Sungard AS New Holdings, LLC and certain of
its affiliates and subsidiaries, as debtors and debtors in possession (collectively, the “Debtors”) in
the above-captioned cases filed voluntary petitions for relief under chapter 11 of title 11 the United
States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for Southern District
of Texas (the “Court”).

        On [●], 2022, the Court entered an order [Docket No. [●]] the (“Bar Date Order”)2
establishing certain dates by which parties holding prepetition claims against the Debtors must
file proofs of claim, including requests for payment pursuant to section 503(b)(9) of the Bankruptcy
Code (“Proofs of Claim”). For the avoidance of doubt, there is no separate claims process for
creditors of Sungard Availability Services (Canada) Ltd./Sungard, Services de Continuite
des Affaires (Canada) Ltee (“Sungard AS Canada”). Creditors of Sungard AS Canada,
including any Canadian-based creditors, ARE NOT exempt from the Bar Date Order.

        For your convenience, enclosed within this notice (this “Notice”) is a Proof of Claim form,
which identifies on its face the amount, nature, and classification of your claim(s), if any, listed in
the Debtors’ schedules of assets and liabilities filed in these cases (the “Schedules”). If the Debtors
believe that you hold claims against more than one Debtor, you will receive multiple Proof of Claim
forms, each of which will reflect the nature and amount of your claim as listed in the Schedules.

        As used in this Notice, the term “claim” means, as to or against the Debtors and in
accordance with section 101(5) of the Bankruptcy Code: (a) any right to payment, whether or not
such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured,
disputed, undisputed, legal, equitable, secured, or unsecured; or (b) any right to an equitable
remedy for breach of performance if such breach gives rise to a right to payment, whether or not
such right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
disputed, undisputed, secured, or unsecured.

I.     THE BAR DATES

       The Bar Date Order establishes the following bar dates for filing Proofs of Claim in these
chapter 11 cases (the “Bar Dates”):

               a.       The General Bar Date. Except as described below, all persons or entities
                        holding claims against the Debtors that arose or are deemed to have arisen
                        prior to the Petition Date, including claims arising under section 503(b)(9)
                        of the Bankruptcy Code, are required to file Proofs of Claim so that they are
                        actually received by Wednesday, June 22, 2022. Except as otherwise set
                        forth below, the General Bar Date applies to all types of claims against the
                        Debtors that arose prior to the Petition Date, including secured claims,
                        unsecured priority claims, and unsecured non-priority claims.



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       Capitalized terms used but not defined herein have the meanings ascribed to them in the Bar Date Order.



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               b.     The Governmental Bar Date. All governmental units holding claims
                      against the Debtors that arose or are deemed to have arisen prior to the
                      Petition Date are required to file Proofs of Claim so that they are actually
                      received by October 10, 2022. The Governmental Bar Date applies to all
                      governmental units holding claims against the Debtors, including secured
                      claims, unsecured priority claims, and unsecured non-priority claims,
                      claims arising under section 503(b)(9) of the Bankruptcy Code, and claims
                      for unpaid taxes arising from prepetition tax years or periods or prepetition
                      transactions.

               c.     The Amended Schedules Bar Date. All persons or entities asserting
                      claims against the Debtors’ whose claims are affected by an amendment or
                      supplement to the Debtors’ Schedules are required to file Proofs of Claim
                      so that they are actually received by the later of (i) the General Bar Date
                      or Governmental Bar Date, as applicable, and (ii) on the date that is
                      thirty (30) days after the date on which the Debtors provide notice of
                      such amendment or supplement.

               d.     The Rejection Damages Bar Date. All persons or entities asserting claims
                      against the Debtors’ arising from the Debtors’ rejection of an executory
                      contract or unexpired lease are required to file Proofs of Claim so that they
                      are actually received by the later of (i) the General Bar Date or
                      Governmental Bar Date, as applicable, and (ii) the date that is thirty
                      (30) days following service of an order approving the rejection of such
                      executory contract or unexpired lease; and (iii) any such other date that
                      the Court may fix in the applicable order approving such rejection.

II.    WHO MUST FILE A PROOF OF CLAIM

        Except as otherwise set forth herein, the following persons or entities holding claims
against the Debtors that arose (or that are deemed to have arisen) prior to the Petition Date must
file Proofs of Claim on or before the applicable Bar Date:

               a.     any person or entity whose claim against a Debtor is not listed in the
                      applicable Debtor’s Schedules or whose claim is listed as contingent,
                      unliquidated, or disputed, if such person or entity desires to participate in
                      the Chapter 11 Cases or otherwise wishes to share in any distribution arising
                      from the Chapter 11 Cases;

               b.     any person or entity that believes its claim is improperly classified in the
                      Schedules or listed for an incorrect amount and desires to have its claim
                      allowed under a classification or in an amount different than set forth in the
                      Schedules;

               c.     any former or present full-time, part-time, salaried, or hourly employee
                      asserting a claim based on a grievance against any Debtor to the extent the
                      grounds for such grievance arose on or prior to the Petition Date;



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               d.      any person or entity that believes its claim is listed in the wrong Debtor’s
                       Schedule and desires to have its claim allowed against a Debtor whose
                       Schedule does not list such entity’s claim; and

               e.      any person or entity alleging that its claim is or may qualify as an
                       administrative expense pursuant to section 503(b)(9) of the Bankruptcy
                       Code.

III.   PARTIES WHO DO NOT NEED TO FILE A PROOF OF CLAIM

        Certain parties are not required to file Proofs of Claim. The Court may, however, enter
one or more separate orders at a later time requiring creditors to file Proofs of Claim for some
kinds of the following claims and setting related deadlines. If the Court does enter such an order,
you will receive notice of it. The following entities holding claims that would otherwise be subject
to the Bar Dates need not file Proofs of Claims:

               a.      the U.S. Trustee, on account of claims for fees payable pursuant to
                       28 U.S.C. § 1930;

               b.      any person or entity that has already filed a signed Proof of Claim against
                       the respective Debtor(s) with the Clerk of the Court or with Kroll in a form
                       substantially similar to Official Form 410;

               c.      any person or entity whose claim is listed on the Schedules and: (i) is not
                       listed in the Schedules as “disputed,” “contingent,” or “unliquidated;”
                       (ii) such person or entity agrees with the amount, nature, and priority of the
                       claim as set forth in the Schedules; and (iii) such person or entity does not
                       dispute the claim is an obligation of the specific Debtor whose Schedules
                       list such claim;

               d.      any person or entity whose claim has previously been allowed by a final
                       order of the Court;

               e.      any Debtor holding a claim against another Debtor;

               f.      any person or entity whose claim is solely against any of the Debtors’ non-
                       Debtor affiliates;

               g.      any person or entity whose claim has been paid in full by the Debtors
                       pursuant to the Bankruptcy Code or in accordance with a Court order;

               h.      a current employee of the Debtors whose claim is for a wage, commission,
                       or benefit that the Court has authorized, by entry of an order, the Debtors to
                       pay in the ordinary course of business; provided, that a current employee
                       must submit a Proof of Claim by the applicable Bar Date for all other claims
                       arising prior to the Petition Date, including claims for wrongful termination,
                       discrimination, harassment, hostile work environment, or retaliation;



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                i.     any current officer, manager, director, or employee for claims based on
                       indemnification, contribution, or reimbursement;

                j.     any person or entity holding a claim for which a separate deadline is fixed
                       by this Court;

                k.     any person or entity holding a claim allowable under sections 503(b) and
                       507(a)(2) of the Bankruptcy Code as an administrative expense; provided
                       that any entity asserting a claim entitled to priority under section 503(b)(9)
                       of the Bankruptcy Code must file a Proof of Claim based on such claim by
                       the General Bar Date;

                l.     any person or entity that is exempt from filing a Proof of Claim pursuant to
                       an order of the Court in these Chapter 11 Cases, including, without
                       limitation, pursuant to an order granting the Debtors’ motion to approve
                       debtor-in-possession financing and use of cash collateral; and

                m.     any person or entity holding an equity interest in any Debtor.

IV.      INSTRUCTIONS FOR FILING PROOFS OF CLAIM

         The following requirements shall apply with respect to filing and preparing each Proof of
Claim:

                a.     Contents. Each Proof of Claim must: (i) be written in English; (ii) include
                       a claim amount denominated in United States dollars; (iii) conform
                       substantially with the Proof of Claim Form provided by the Debtors or
                       Official Form 410; and (iv) be signed by the claimant or by an authorized
                       agent or legal representative on behalf of the claimant.

                b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                       priority under section 503(b)(9) must also: (i) include the value of the goods
                       received by the Debtors in the twenty (20) days prior to the Petition Date;
                       (ii) attach any documentation identifying the particular invoices for which
                       the 503(b)(9) claim is being asserted; and (iii) attach documentation of any
                       reclamation demand made to the Debtors under section 546(c) of the
                       Bankruptcy Code (if applicable).

                c.     Electronic Signatures Permitted. Only original Proofs of Claim signed
                       (including electronically) by the claimant or an authorized agent or legal
                       representative of the claimant are acceptable for purposes of claims
                       administration. Copies of Proofs of Claim, or Proofs of Claim sent by
                       facsimile or electronic mail will not be accepted. Unless otherwise ordered
                       and/or authorized by this Court, an original Proof of Claim filed with the
                       original signature (including electronic) of a party other than the creditor
                       who filed that claim must be retained and preserved by the filing party for
                       a period of not less than 5 years after these Chapter 11 Cases are closed.
                       The filing party must produce the original document to the Court or other


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            third party upon request for their review as required by the Administrative
            Procedures for the Filing, Signing, and Verifying of Documents by
            Electronic Means in Texas Bankruptcy Courts.

      d.    Identification of the Debtor Entity. Each Proof of Claim must clearly
            identify the Debtor against which a claim is asserted, including the
            individual Debtor’s case number. A Proof of Claim filed without
            identifying a specific Debtor will be deemed as filed only against Sungard
            Availability Services, LP (“Sungard AS LP”).

      e.    Claim Against Multiple Debtor Entities. Each Proof of Claim must state
            a claim against only one clearly identified Debtor. If a Proof of Claim lists
            more than one Debtor it may be treated as filed only against Sungard
            AS LP. Notwithstanding anything to the contrary set forth in the Bar Date
            Order, the filing of a Proof of Claim by an administrative agent or indenture
            trustee in one of the Chapter 11 Cases will also be deemed to constitute the
            filing of a Proof of Claim in the cases of all other Debtors against whom a
            claim may be asserted under the applicable credit agreement, indenture, or
            other operative documents.

      f.    Supporting Documentation. Each Proof of Claim must include supporting
            documentation in accordance with Bankruptcy Rules 3001(c) and (d). If,
            however, such documentation is voluminous, such Proof of Claim may
            include a summary of such documentation or an explanation as to why such
            documentation is not available; provided, that (i) the Proof of Claim contain
            current contact information for the creditor or its designated representative
            from whom the Debtors may request the full supporting documentation and
            (ii) such party must produce those documents upon request by Debtors’
            counsel no later than ten (10) days from the date of such request.

      g.    Timely Service. Each Proof of Claim must be filed, including supporting
            documentation, so as to be actually received by Kroll on or before the
            applicable Bar Date: (i) electronically via the interface through PACER
            (Public Access to Court Electronic Records at http://ecf.txsb.uscourts.gov)
            or      the     interface    available     on    Kroll’s       website    at
            https://cases.ra.kroll.com/SungardAS/ or (ii) by first class U.S. mail,
            overnight U.S. mail, or other hand delivery method at the following address:

                   Sungard AS New Holdings, LLC Claims Processing Center
                          c/o Kroll Restructuring Administration LLC
                                   850 3rd Avenue, Suite 412
                                     Brooklyn, NY 11232

      h.    Receipt of Service. Claimants wishing to receive proof of receipt of their
            Proofs of Claim submitted by U.S. mail must enclose (i) a copy of the Proof
            of Claim Form (in addition to the original Proof of Claim Form sent to
            Kroll) and (ii) a self-addressed, stamped envelope to Kroll.


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V.     CONSEQUENCES OF FAILING TO TIMELY FILE YOUR PROOF OF CLAIM

        Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if you
or any party or entity who is required, but fails, to file a Proof of Claim in accordance with the Bar
Date Order on or before the applicable Bar Date, please be advised that:
               a.      YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED
                       FROM ASSERTING SUCH CLAIM AGAINST THE DEBTORS (OR
                       FILING A PROOF OF CLAIM WITH RESPECT THERETO);

               b.      YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE
                       CHAPTER 11 CASES ON ACCOUNT OF THAT CLAIM; AND

               c.      YOU WILL NOT BE PERMITTED TO VOTE ON ANY PLAN OR
                       PLANS OF REORGANIZATION FOR THE DEBTORS ON ACCOUNT
                       OF THESE BARRED CLAIMS OR RECEIVE FURTHER NOTICES
                       REGARDING SUCH CLAIM.

VI.    RESERVATION OF RIGHTS

        Nothing contained in this Notice is intended to or should be construed as a waiver of the
Debtors’ right to: (a) dispute, or assert offsets or defenses against, any filed claim or any claim
listed or reflected in the Schedules as to the nature, amount, liability, or classification thereof;
(b) subsequently designate any scheduled claim as disputed, contingent, or unliquidated; and
(c) otherwise amend or supplement the Schedules.

VII.   THE DEBTORS’ SCHEDULES AND ACCESS THERETO

        You may be listed as the holder of a claim against one or more of the Debtor entities in the
Debtors’ Schedules. To determine if and how you are listed on the Schedules, please refer to the
descriptions set forth on the enclosed Proof of Claim forms regarding the nature, amount, and
status of your claim(s).

        If the Debtors believe that you may hold claims against more than one Debtor entity, you
will receive multiple Proof of Claim forms, each of which will reflect the nature and amount of
your claim against one Debtor entity, as listed in the Schedules.

        If you rely on the Debtors’ Schedules, it is your responsibility to determine that the claim
is accurately listed in the Schedules. However, you may rely on the enclosed form, which sets
forth the amount of your claim (if any) as scheduled; identifies the Debtor entity against which it
is scheduled; specifies whether your claim is listed in the Schedules as disputed, contingent, or
unliquidated; and identifies whether your claim is scheduled as a secured, unsecured priority, or
unsecured non-priority claim.

        As described above, if you agree with the nature, amount, and status of your claim as listed
in the Debtors’ Schedules, and if you do not dispute that your claim is only against the Debtor
entity specified by the Debtors, and if your claim is not described as “disputed,” “contingent,” or
“unliquidated,” you do not need to file a Proof of Claim. Otherwise, or if you decide to file a


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Proof of Claim, you must do so before the applicable Bar Date in accordance with the procedures
set forth in this Notice.

VIII. ADDITIONAL INFORMATION

        Copies of the Debtors’ Schedules, the Bar Date Order, and other information regarding
these chapter 11 cases are available for inspection free of charge on the Debtors’
website at https://cases.ra.kroll.com/SungardAS/. The Schedules and other filings in these
chapter 11 cases also are available for a fee at the Court’s website at
https://ecf.txsb.uscourts.gov/. A login identification and password to the Court’s Public Access
to Court Electronic Records (“PACER”) are required to access this information and can be
obtained through the PACER Service Center at https://pacer.login.uscourts.gov. Copies of
the Schedules and other documents filed in these cases also may be examined between the hours of
8:00 a.m. and 5:00 p.m. (prevailing Central Time), Monday through Friday, at the office of the
Clerk of the Bankruptcy Court, United States Bankruptcy Court for the Southern District of Texas,
United States Courthouse, 515 Rusk Avenue, Houston, Texas 77002.

        If you require additional information regarding the filing of a Proof of Claim, you may
contact the Debtors’ claims and noticing agent, Kroll at (844) 224-1140 (Toll Free) or (646) 979-
4408 (International).

HOLDERS OF POSSIBLE CLAIMS AGAINST THE DEBTORS SHOULD CONSULT AN
ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS NOTICE, SUCH
AS WHETHER THE HOLDER SHOULD FILE A PROOF OF CLAIM




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                            EXHIBIT 3

                     Form of Publication Notice
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                       )
In re:                                 )                              Chapter 11
                                       )
SUNGARD AS NEW HOLDINGS, LLC, et al.,1 )                              Case No. 22-90018 (DRJ)
                                       )
                   Debtors.            )                              (Jointly Administered)
                                       )
                                       )

                   NOTICE OF DEADLINES FOR THE FILING OF
              PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
             PURSUANT TO SECTION 503(b)(9) OF THE BANKRUPTCY CODE

                     THE GENERAL BAR DATE IS WEDNESDAY, JUNE 22, 2022

PLEASE TAKE NOTICE OF THE FOLLOWING:

        Deadlines for Filing Proofs of Claim. On [●], 2022, the United States Bankruptcy Court
for the Southern District of Texas (the “Court”) entered an order [Docket No. [●]]
(the “Bar Date Order”) establishing certain deadlines for the filing of proofs of claim, including
requests for payment under section 503(b)(9) of the Bankruptcy Code (collectively, “Proofs of
Claim”), in the chapter 11 cases of the following debtors and debtors in possession (collectively,
the “Debtors”):

                            DEBTOR                                                                  CASE NO.
    SUNGARD AVAILABILITY SERVICES, LP                                                                22-90017
    SUNGARD AS NEW HOLDINGS, LLC                                                                     22-90018
    SUNGARD AVAILABILITY SERVICES (CANADA) LTD./SUNGARD                                              22-90019
    SERVICES DE CONTINUITE DES AFFAIRES (CANADA) LTEE
    SUNGARD AVAILABILITY SERVICES HOLDINGS (CANADA), INC.                                             22-90020
    INFLOW LLC                                                                                        22-90021
    SUNGARD AS NEW HOLDINGS III, LLC                                                                  22-90022
    SUNGARD AVAILABILITY NETWORK SOLUTIONS INC.                                                       22-90023

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     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ tax identification numbers,
     are: InFlow LLC (9489); Sungard AS New Holdings, LLC (5907); Sungard AS New Holdings II, LLC (9169);
     Sungard AS New Holdings III, LLC (3503); Sungard Availability Network Solutions Inc. (1034); Sungard
     Availability Services (Canada) Ltd./Sungard, Services de Continuite des Affaires (Canada) Ltee (3886); Sungard
     Availability Services Holdings (Canada), Inc. (2679); Sungard Availability Services Holdings (Europe), Inc.
     (2190); Sungard Availability Services Holdings, LLC (6403); Sungard Availability Services Technology, LLC
     (9118); Sungard Availability Services, LP (6195); and Sungard Availability Services, Ltd. (4711). The location
     of the Debtors’ service address for purposes of these chapter 11 cases is: 565 E Swedesford Road, Suite 320,
     Wayne, PA 19087.



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 SUNGARD AS NEW HOLDINGS II, LLC                                                       22-90024
 SUNGARD AVAILABILITY SERVICES HOLDINGS (EUROPE), INC.                                 22-90025
 SUNGARD AVAILABILITY SERVICES HOLDINGS, LLC                                           22-90026
 SUNGARD AVAILABILITY SERVICES TECHNOLOGY, LLC                                         22-90027
 SUNGARD AVAILABILITY SERVICES, LTD.                                                   22-90028

        The Bar Dates. Pursuant to the Bar Date Order, all persons and entities that have a claim
or potential claim against the Debtors that arose prior to April 11, 2022, no matter how remote
or contingent such right to payment or equitable remedy may be, including requests for payment
under section 503(b)(9) of the Bankruptcy Code, MUST FILE A PROOF OF CLAIM on or
before Wednesday, June 22, 2022 (the “General Bar Date”). All governmental units that have a
claim or potential claim against the Debtors that arose prior to April 11, 2022, no matter how
remote or contingent such right to payment or equitable remedy may be MUST FILE A PROOF
OF CLAIM on or before Monday, October 10, 2022 (the “Governmental Bar Date”). All persons
and entities holding claims arising from the Debtors’ rejection of executory contracts and
unexpired leases are required to file Proofs of Claim by the later of (a) the General Bar Date
or Governmental Bar Date, as applicable, and (b) on the date that is thirty (30) days following
entry of the order approving the Debtors’ rejection of the applicable executory contract or
unexpired lease (the “Rejection Damages Bar Date”). All persons and entities holding claims
affected by an amendment to the Debtors’ schedules are required to file Proofs of Claim by the
later of (a) the General Bar Date or Governmental Bar Date, as applicable, and (b) on the
date that is thirty (30) days from the date on which the Debtors mail notice of the amendment
to the Schedules (the “Amended Schedules Bar Date”). For the avoidance of doubt, there is no
separate claims process for creditors of Sungard Availability Services (Canada)
Ltd./Sungard, Services de Continuite des Affaires (Canada) Ltee (“Sungard AS Canada”).
Creditors of Sungard AS Canada, including any Canadian-based creditors, ARE NOT
exempt from the Bar Date Order.

     ANY PERSON OR ENTITY WHO FAILS TO FILE A PROOF OF CLAIM,
INCLUDING ANY REQUEST FOR PAYMENT UNDER SECTION 503(B)(9) OF THE
BANKRUPTCY CODE, ON OR BEFORE THE APPLICABLE BAR DATE SHALL
NOT BE TREATED AS A CREDITOR WITH RESPECT TO SUCH CLAIM FOR
THE PURPOSES OF VOTING AND DISTRIBUTION ON ANY CHAPTER 11 PLAN.

        Filing a Proof of Claim. Each Proof of Claim must be filed, including supporting
documentation, so as to be actually received by the Debtors’ claims and noticing agent, Kroll
Corporate Restructuring, LLC (“Kroll”), on or before the General Bar Date (or, where applicable,
on or before any other Bar Dates as set forth herein or by order of the Court) either: (i)
electronically via the interface through PACER (Public Access to Court Electronic Records at
http://ecf.txsb.uscourts.gov) or with Kroll at https://cases.ra.kroll.com/SungardAS/; or (ii) by first
class U.S. mail, overnight U.S. mail, or other hand delivery method at the following address:

                   Sungard AS New Holdings, LLC Claims Processing Center
                          c/o Kroll Restructuring Administration LLC
                                   850 3rd Avenue, Suite 412
                                     Brooklyn, NY 11232



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        Contents of Proofs of Claim. Each Proof of Claim must: (1) be written in legible English;
(2) include a claim amount denominated in United States dollars; (3) clearly identify the Debtor
against which the claim is asserted; (4) conform substantially with the Proof of Claim form
provided by the Debtors or Official Form 410; (5) be signed by the claimant or by an authorized
agent or legal representative of the claimant on behalf of the claimant, whether such signature is
an electronic signature or is ink; and (6) include as attachments any and all supporting
documentation on which the claim is based. Please note that each Proof of Claim must state a
claim against only one Debtor and clearly indicate the specific Debtor against which the claim is
asserted. To the extent more than one Debtor is listed on the Proof of Claim, the Proof of Claim
may be treated as if filed only against Sungard Availability Services, LP (“Sungard AS LP”)
or if a Proof of Claim is otherwise filed without identifying a specific Debtor, the Proof of Claim
may be deemed as filed only against Sungard AS LP.

        Electronic Signatures Permitted. Proofs of Claim signed electronically by the claimant
or an authorized agent or legal representative of the claimant may be deemed acceptable for
purposes of claims administration. Copies of Proofs of Claim, or Proofs of Claim sent by facsimile
or electronic mail will not be accepted. Unless otherwise ordered by the Court, any original
document containing the original signature of any party other than the party that files the Proof of
Claim must be retained by the filing party for a period of not less than five (5) years after the
Debtors’ cases are closed, and upon request, such original document must be provided to the Court
or other parties for review, pursuant to the Administrative Procedures for the Filing, Signing, and
Verifying of Documents by Electronic Means in Texas Bankruptcy Courts.

        Section 503(b)(9) Requests for Payment. Any Proof of Claim that asserts a right to
payment arising under section 503(b)(9) of the Bankruptcy Code must also: (1) include the value
of the goods received by the Debtors in the twenty (20) days prior to the Petition Date; (2) attach
any documentation identifying the particular invoices for which such 503(b)(9) claim is being
asserted; and (3) attach documentation of any reclamation demand made to the Debtors under
section 546(c) of the Bankruptcy Code (if applicable).

         Additional Information. If you have any questions regarding the claims process and/or
you wish to obtain a copy of the Bar Date Notice, a proof of claim form or related documents you
may do so by: (i) calling Kroll at (844) 224-1140 (Toll Free) or (646) 979-4408 (International); or
(ii) visiting https://cases.ra.kroll.com/SungardAS/.




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